Case 5:23-cv-02651-MCS-SHK Document 36 Filed 04/17/24 Page 1 of 2 Page ID #:243



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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10   VIKEN KOKOZIAN,                       Case No. 5:23-cv-02651-MCS-SHK
11
                      Plaintiff,           JUDGMENT
12
13               v.
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     CITY OF LAKE ELSINORE,
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                      Defendant.
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Case 5:23-cv-02651-MCS-SHK Document 36 Filed 04/17/24 Page 2 of 2 Page ID #:244



 1         Pursuant to the Court’s Order Re: Motion to Dismiss, it is ordered, adjudged, and
 2   decreed that judgment is entered in favor of Defendant City of Lake Elsinore and against
 3   Plaintiff Viken Kokozian. The case is dismissed without prejudice with respect to
 4   Plaintiff’s moot claim under 42 U.S.C. § 1983 for violations of his Fifth Amendment
 5   rights, and with prejudice in all other respects. Plaintiff shall take nothing from this
 6   action.
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 8   IT IS SO ORDERED.
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10   Dated: April 17, 2024
11                                                  MARK C. SCARSI
                                                    UNITED STATES DISTRICT JUDGE
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